(1 of 31), Page 1 of 31     Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 1 of 31




                                                   No. 25-4312


                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT

                                  PEDRO VASQUEZ PERDOMO, et al.,

                                                   Plaintiffs-Appellees,

                                                        v.

                                           KRISTI NOEM, et al.,

                                                   Defendants-Appellants.


                              On Appeal from the United States District Court
                                     for the Central District of California
                              District Court Case No. 2:25-cv-5605-MEMF-SP


               RENEWED EMERGENCY MOTION UNDER CIRCUIT RULE 27-3
           FOR STAY PENDING APPEAL AND IMMEDIATE ADMINISTRATIVE STAY
                         RELIEF REQUESTED BY JULY 21, 2025



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(2 of 31), Page 2 of 31     Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 2 of 31




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(3 of 31), Page 3 of 31     Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 3 of 31




                                   CIRCUIT RULE 27-3 CERTIFICATE

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                                                       i
(4 of 31), Page 4 of 31     Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 4 of 31




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                                                      ii
(5 of 31), Page 5 of 31      Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 5 of 31




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             (2) Facts showing the existence and nature of emergency

                    As set forth more fully in the motion, the district court has entered a sweeping,

             district-wide injunction placing coercive restraints on lawful immigration enforcement

             affecting every immigration stop and detention. The district court thought the issues

             presented were sufficiently urgent that she afforded the government only two business

             days to respond to hundreds of pages of submissions and issued the injunction in a

             written decision only days later. And, as explained below, the injunction with respect

             to Fourth Amendment stops is inflicting irreparable harm by preventing the Executive

             from ensuring that immigration laws are enforced.

                                                        iii
(6 of 31), Page 6 of 31     Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 6 of 31




             (3) Explanation for why motion could not have been filed earlier

                    The district court issued its order on Friday evening, July 11, 2025, and

             Defendants sought emergency relief from this Court on Monday, July 14, 2025. The

             Court denied that motion without prejudice because the district court had not yet ruled

             on Defendants’ stay motion below. The district court denied that motion this evening,

             and Defendants are now promptly renewing their motion on appeal.

             (4) When and how counsel notified

                    This is a renewed motion. Nonetheless, Defendants’ counsel notified counsel

             for Plaintiffs by email on July 17, 2025, of Defendants’ intention to file this motion.

             Plaintiffs stated that they continue to oppose Defendants’ renewed motion for the same

             reasons Plaintiffs set forth previously. Dkt.7. Service will be effected by electronic

             service through the CM/ECF system.

             (5) Submissions to the district court

                    In its previous order, this court denied Defendants’ Emergency Motion for a

             Stay without prejudice because the district court had yet to rule on the stay motion

             before it under Federal Rule of Appellate Procedure 8. Defendants had previously

             requested a stay pending appeal from the district court in their opposition to the TRO

             application (Dkt.71 at 24) and during the July 10, 2025 hearing on the ex parte order.

             The district court denied the request. Dkt.87 at 52 n.37. Defendants filed an additional

             stay motion in district court on July 14, 2025. Dkt.94. Given the urgency, Defendants



                                                        iv
(7 of 31), Page 7 of 31      Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 7 of 31




             requested an expedited ruling by July 17 at 5:00 P.M. Dkt.107. On July 17, 2025, the

             district court denied the application for stay of the TRO. Dkt.108.

             (6) Decision requested by July 21, 2025

                    A decision on the motion for a stay pending appeal is requested as soon as

             possible, with an administrative stay in the interim, ideally by July 21, 2025.


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                                                         v
(8 of 31), Page 8 of 31      Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 8 of 31




                                               INTRODUCTION

                    This was originally a routine habeas action filed by three individual aliens seeking

             release from immigration detention. But, apparently seeking to manipulate the process

             of judicial assignment, the original petitioners’ counsel then filed an amended complaint

             adding a host of new individual and organizational plaintiffs, leveling systemic

             challenges to federal immigration enforcement in the Los Angeles area. And a day later,

             on the eve of the July 4 holiday, they filed an “emergency” ex parte motion asking the

             court to impose a straight-jacket injunction that would vastly restrict the government’s

             ability to stop and detain anyone on suspicion of being unlawfully present in the United

             States. The court gave the government just two business days to respond to hundreds

             of pages of submissions, and largely rubber-stamped Plaintiffs’ proposed order just days

             later. The result is a sweeping, district-wide injunction that threatens to hobble lawful

             immigration enforcement by hanging a Damocles sword of contempt over every

             immigration stop. The government seeks an immediate stay of that untenable order

             pending appeal, and an administrative stay in the meantime.

                    Invoking the Fourth Amendment, the court ordered that federal agents cannot

             conduct any detentive stops without reasonable suspicion—and then purported to

             identify a host of factors (like an individual’s race, language, location, or type of work)

             that are supposedly irrelevant to reasonable suspicion. That injunction, which appears

             to be a first step to placing federal immigration enforcement under judicial monitorship,

             is indefensible on every level.

                                                         1
(9 of 31), Page 9 of 31      Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 9 of 31




                    At the outset, Plaintiffs have no standing to seek it. The individual Plaintiffs

             allege they were previously stopped without reasonable suspicion, but even if that were

             true (and it is not, although the district court failed to give the government a meaningful

             opportunity to develop that record), it is black-letter law that past interactions with law

             enforcement do not suffice to seek a prospective injunction. See City of Los Angeles v.

             Lyons, 461 U.S. 95 (1983). Lyons should be the end of this case. The district court tried

             to evade it by claiming a likelihood that officers will detain someone without reasonable

             suspicion in the future. But that was equally true in Lyons. It is the Plaintiffs who must

             show an imminent threat of injury, and they plainly cannot.

                    On the merits, the injunction badly misunderstands the Fourth Amendment. Of

             course reasonable suspicion is required for a stop, but an injunction repeating that

             constitutional standard is an impermissibly vague follow-the-law injunction. And in

             trying to reduce the Fourth Amendment test to a formula by identifying a list of

             “irrelevant” factors, the court grievously erred—the whole point of the constitutional

             “reasonableness” standard is that no factor is categorically off the table. The Fourth

             Amendment imposes a totality-of-the-circumstances test, and it is entirely possible that

             one’s language, location, or type of work could be relevant in a particular factual

             context. Trying to develop bright-line rules in this context is a fool’s errand.

                    Finally, if nothing else, the district court ignored the Supreme Court’s recent

             decision rejecting universal injunctions. Trump v. CASA, Inc., 2025 WL 1773631 (U.S.

             June 27, 2025). Violating the equitable principles that the Court articulated just weeks

                                                         2
(10 of 31), Page 10 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 10 of 31




             ago, the court enjoined the government from any detentive stops in the Central District

             of California without following the court’s novel rules—whether those stops affect

             Plaintiffs or not. The district court thought a plaintiff-specific injunction would be

             unworkable in this context, but CASA contains no such exception; the unworkability

             merely confirms the misguided nature of this type of structural remedy.

                    Immediate relief is warranted here not only because of the magnitude of the

             court’s legal errors, but also their practical consequences for the separation of powers

             and the government’s sovereign prerogatives. It is untenable for a district judge to

             single-handedly “restructure the operations” of federal immigration enforcement and

             usurp “ongoing judicial supervision of an agency normally, and properly, overseen by

             the executive branch.” Hodgers-Durgin v. De La Vina, 199 F.3d 1037, 1044 (9th Cir.

             1999) (en banc). And make no mistake, that is exactly what this district court is

             doing. Indeed, the current injunction is only the start; the court has ordered the

             government to show cause why it should not also be required to develop policies,

             compel agents to undergo training; and even share records of each and every stop with

             the ACLU going forward. This judicial takeover cannot be allowed to stand.

                    For these reasons, this Court should stay the district court’s injunction pending

             appeal and immediately grant an administrative stay while it considers this application.

             See, e.g., Newsom v. Trump, 2025 WL 1712930, at *4 (9th Cir. June 19, 2025) (staying order

             that purported to block deployment of National Guard).



                                                         3
(11 of 31), Page 11 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 11 of 31




                                                 STATEMENT

                    1. On June 20, 2025, three individual aliens filed a habeas petition in the district

             court seeking release from immigration detention. Dkt.1. Two weeks later, on July 2,

             they filed an amended complaint adding two other named individual plaintiffs plus four

             legal services organizations. Dkt.16. And the next day, before the July 4 holiday, they

             filed an emergency ex parte TRO application. Dkt.45. These filings, accompanied by

             more than three hundred pages of exhibits, vastly expanded the scope of the suit to

             encompass all immigration enforcement throughout the entire district. Dkt.38, 45.1

                    As relevant here, Plaintiffs alleged that federal agents are engaged in a pattern or

             practice of unlawful immigration detentions in violation of the Fourth Amendment.

             Dkt.45 at 6-13. The three original petitioners are unlawful aliens who were arrested

             outside a donut shop known to ICE as a location where an illegal immigrant picked up

             other illegal immigrants for labor. Dkt.94-1. One remains detained; the other two were

             released on bond pending removal. Id. One of the two new Plaintiffs (Hernandez

             Viramontes) alleges that agents came to the car wash where he works on four occasions

             in June, and on one of those occasions briefly detained him before verifying his

             citizenship. Dkt.45-4. The second new plaintiff (Gavidia) says agents once seized him

             at a tow yard and asked about his citizenship status. Dkt.45-9.



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                      Plaintiffs actually filed two ex parte TRO applications, both of which the court
             granted. But this motion seeks an emergency stay only as to one of those applications,
             due to its especially extreme consequences.

                                                         4
(12 of 31), Page 12 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 12 of 31




                    The three organizational Plaintiffs relevant to this claim are L.A. Worker Center

             Network, United Farm Workers, and Coalition for Humane Immigrant Rights. Each

             provides services to immigrants and is concerned with immigrant rights. They generally

             allege that their members have been detained and fear that immigration agents will

             detain them again. Dkt.16, ¶¶ 173, 179, 189.

                    For relief, Plaintiffs sought a sweeping injunction barring federal agents from

             conducting any detentive stops without reasonable suspicion, defined to exclude any

             reliance on race or ethnicity, language, location, or type of work. Dkt.45-22, at 4-6.2.

                    The district court gave the government just two business days to respond to the

             voluminous applications, then held a hearing two days after that. The court issued an

             order granting the two applications the following day. Dkt.87 (Op.).

                    As to standing, the court observed that only one named plaintiff needed to satisfy

             Article III, and found that Gavidia did so because he had “suffered an invasion of a

             legally protected interest” and that the conduct complained of would recur. Op.35. As

             to the merits, the court concluded that Plaintiffs were likely to succeed in showing the

             government was “conducting seizures that require at least reasonable suspicion,” and

             that “the seizures were not supported by reasonable suspicion.” Op.36. The court

             agreed with Plaintiffs that reliance on race or ethnicity, spoken language, location, and

             type of work cannot ever satisfy reasonable suspicion, alone or in combination; it

             further found that, for the relevant stops, immigration officials relied solely upon those

             enumerated factors. Op.39-45.

                                                         5
(13 of 31), Page 13 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 13 of 31




                    The court thought Plaintiffs had established irreparable harm based on the risk

             of future detentive stops. Op.47-48. Accordingly, the court enjoined the government

             from (i) “conducting detentive stops in this District” absent “reasonable suspicion that

             the person … is in violation of U.S. immigration law”; and (ii) relying solely on the

             enumerated factors for reasonable suspicion. The court also ordered the parties to

             show cause at some later date and time why a broader preliminary injunction should

             not issue, requiring the government to establish guidance, undergo training, and

             maintain and regularly share with Plaintiffs’ counsel documentation showing reasonable

             suspicion for all detentive stops going forward. Op.50-51.

                    The district court denied a stay pending appeal on July 17, 2025. Dkt.108.

                                                   ARGUMENT

                    A stay pending appeal is warranted because the government can show a strong

             likelihood of success on the merits, and because the balance of harms and public interest

             favor a stay. Nken v. Holder, 556 U.S. 418, 426 (2009). The district court’s injunction

             plainly fails on standing grounds, merits grounds, and remedial grounds—it is wrong at

             least thrice over. And it threatens untenable consequences on the ground.

                    This Court has jurisdiction under the All Writs Act to stay the order. See Newsom,

             2025 WL 1712930, at *4. The order itself is also appealable because it functions as a

             preliminary injunction. E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 762–63 (9th

             Cir. 2018). The parties submitted extensive briefs; the court held a hearing; and “the

             court’s basis for issuing the order [was] strongly challenged.” Dep’t of Educ. v. California,

                                                          6
(14 of 31), Page 14 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 14 of 31




             145 S. Ct. 966, 968 (2025). The order also includes no expiration date, see Newsom, 2025

             WL 1712930, at *4; the court appears to intend for it to last months (Dkt.108 at 10). And

             as explained below, it carries “serious, perhaps irreparable, consequence[s]” to the

             government by hamstringing the ability of agents to enforce the law. Carson v. Am.

             Brands, Inc., 450 U.S. 79, 84 (1981). This order does not maintain the status quo; it

             micromanages law enforcement. This Court has jurisdiction to review it and to stay it.

               I.   The Injunction Is Indefensible.

                    In considering a stay, the first and most important factor is the movant’s likely

             success on the merits. Here, the government will very likely prevail on appeal, because

             the district court issued an injunction that (i) Plaintiffs lacked standing to seek; (ii) is

             contrary to bedrock Fourth Amendment law; and (iii) violates the equitable principles

             that the Supreme Court articulated just weeks ago.

                    A.      Plaintiffs Lack Standing for Prospective Injunctive Relief
                    Plaintiffs must establish Article III standing to seek prospective injunctive relief.

             See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 412 (2013). That means they must show

             a future injury that is “imminent, not conjectural or hypothetical.” Lujan v. Defs. of

             Wildlife, 504 U.S. 555, 560 (1992). They cannot make that showing, and the district court

             badly erred in concluding otherwise.

                    1. This case is squarely controlled by City of Los Angeles v. Lyons, 461 U.S. 95

             (1983). Lyons was stopped by police officers for a traffic violation and, despite offering

             no resistance, was seized and placed in a chokehold. Id. at 97. The Supreme Court held


                                                          7
(15 of 31), Page 15 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 15 of 31




             that, while Lyons could pursue a damages claim for that past injury, he lacked standing

             for prospective relief because he had not shown that “he was likely to suffer future

             injury from the use of the chokeholds by police officers.” Id. at 105. There was no

             “immediate threat” that he would again be “choke[d] … without any provocation or

             resistance on his part.” Id. That was so even though the Court accepted as true that

             the police department had a policy of “routinely apply[ing] chokeholds in situations

             where they are not threatened by the use of deadly force.” Id. That still did not mean

             that Lyons himself faced a likely threat of future injury.

                    That dooms Plaintiffs’ standing here. The district court relied solely on Plaintiff

             Gavidia for standing. He alleges that he suffered a similar Fourth Amendment injury.

             Instead of a chokehold, agents allegedly stopped him based on his “skin color.” Dkt.45-

             9, ¶¶ 9, 12. Even assuming those allegations were true (they are not), they do not

             “establish a real and immediate threat that he would again be [stopped because of his

             race].” Lyons, 461 U.S. at 105.

                    2. The district court misapplied Lyons by finding “a real and immediate threat

             that the conduct complained of will continue.” Op.35. Notice what the court did not

             say—that there is a real and immediate threat to Plaintiffs. Just as Lyons was not likely

             to be subject to a chokehold again, the court below never found that Gavidia is likely

             to be subject to the same violations in the future. Again, the court merely found a

             likelihood of “recurrent injury.” Id. But injury to whom? The Article III test is whether

             the plaintiff is likely to suffer future injury. Gavidia presented no such evidence.

                                                           8
(16 of 31), Page 16 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 16 of 31




                    3. Nor can the other Plaintiffs fill the gap. They are all in the same boat (or

             worse). Plaintiff Viramontes alleged that agents visited the carwash where he works

             twice without stopping him, and detained him for about 20 minutes on their third visit

             until they could verify his citizenship status. Dkt.45-4, ¶¶ 6-11. That single interaction

             provides no basis to believe there will be any future stops, let alone wrongful ones. On

             the contrary, Viramontes’s own declaration makes clear that in a fourth encounter with

             a different group of agents later that same day, no arrests were made. Id. ¶ 14.

                    Two other plaintiffs, Perdomo and Molina, were detained and later released on

             bond pending removal proceedings. Dkt.81-1, ¶¶ 4-5. But other than alleging that the

             government continues to enforce federal immigration law in the district, the only

             “evidence” of their standing is Perdomo’s “belie[f]” that he will be stopped again

             (Dkt.45-1, ¶ 11) and Molina’s “worr[y]” that he will be arrested again for “look[ing] like

             an immigrant.” (Dkt.45-3, ¶ 11). Subjective fear of a future illegal stop “is not certainly

             impending” and “cannot manufacture standing.” Clapper, 568 U.S. at 416.

                    Finally, Plaintiff Osorto is still detained. Dkt.81-1, ¶ 6. He cannot possibly be in

             “immediate threat” of an unlawful stop by immigration officials since those officials

             obviously do not attempt to arrest someone already in detention.

                    The organizational Plaintiffs cannot demonstrate standing for the injunction

             either. Associational standing requires the organization to prove, among other things,

             that “its members would otherwise have standing to sue in their own right” and “neither

             the claim asserted nor the relief requested requires the participation of individual

                                                         9
(17 of 31), Page 17 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 17 of 31




             members in the lawsuit.” Hunt v. Wash. St. Apple Adver. Comm’n, 432 U.S. 333, 343

             (1977). Neither is true here. As to the first, the organizations’ members lack standing

             for the same reasons as the individual Plaintiffs—any risk of future harm is speculative.

             See Stavrianoudakis v. U.S. Fish & Wildlife Serv., 108 F.4th 1128, 1143-44 (9th Cir. 2024)

             (no associational standing for warrantless searches because it was speculative that any

             members would be harmed in the future). And, as to the second, a Fourth Amendment

             claim is the paradigmatic example of one that requires the participation of individual

             members. “Fourth Amendment rights are personal rights which … may not be

             vicariously asserted.” Alderman v. United States, 394 U.S. 165 (1969); see also Rakas v.

             Illinois, 439 U.S. 128 (1978); Mabe v. San Bernardino Cnty., Dep’t of Pub. Soc. Servs., 237 F.3d

             1101, 1111 (9th Cir. 2001); Microsoft Corp. v. DOJ, 233 F. Supp. 3d 887, 913–14 (W.D.

             Wash. 2017) (collecting cases).

                    4. Even if Plaintiffs could somehow show the bare minimum for Article III,

             they cannot come close to showing the “threat of immediate and irreparable harm” that

             is necessary for an injunction. Hodgers-Durgin, 199 F.3d at 1042. Hodgers-Durgin was a

             challenge to CBP practices allegedly in violation of the Fourth Amendment. The en

             banc court held that, even assuming the plaintiffs there had standing, they still “have

             not demonstrated a sufficient likelihood of injury to warrant equitable relief” because

             they were “stopped only once.” Id. at 1044. So too here. Indeed, Plaintiffs presented

             evidence of only one anonymous non-party who was supposedly stopped by immigration

             officials twice. Dkt.38-11, ¶¶ 32-38. But “[i]n the absence of a likelihood of injury to

                                                           10
(18 of 31), Page 18 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 18 of 31




             the named plaintiffs, there is no basis for granting injunctive relief that would

             restructure the operations of the Border Patrol and that would require ongoing judicial

             supervision of an agency normally, and properly, overseen by the executive branch.”

             Id. at 1044 (emphasis added); see also Lewis v. Casey, 518 U.S. 343, 359 (1996) (“These

             two [injuries] were a patently inadequate basis for a conclusion of systemwide violation

             and imposition of systemwide relief.”). So too here.

                    Notably, Plaintiffs and the district court both cited LaDuke v. Nelson, 762 F.2d

             1318, 1324–26 (9th Cir. 1985), amended, 796 F.2d 309 (9th Cir. 1986), for standing. But

             the en banc court in Hodgers-Durgin narrowed LaDuke in light of intervening Supreme

             Court precedent. See 199 F.3d at 1044-45. And even the district court admitted that

             LaDuke is distinguishable on its face, because it involved direct evidence of an unlawful

             policy, whereas here no such evidence was presented. Op.45 n.33.

                    In short, whether viewed through the prism of Article III or the equitable factors

             for injunctive relief, the district court badly erred by turning alleged one-off past

             interactions into a basis for a sweeping forward-looking remedy.

                    B.      The District Court Grossly Misapplied the Fourth
                            Amendment.
                    The government would be likely to succeed on the merits even supposing the

             district court had jurisdiction. The court’s order enjoining the government’s detentive-

             stop practices rests on a serious misunderstanding of both the court’s equitable powers

             and the governing Fourth Amendment principles.



                                                        11
(19 of 31), Page 19 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 19 of 31




                    1. To start, the injunction improperly orders the government to follow the law,

             without adequately defining the prohibited actions. Federal Rule of Civil Procedure 65

             provides that “[e]very order granting an injunction and every restraining order must,”

             among other things, “state its terms specifically” and “describe in reasonable detail …

             the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1)(B)-(C). Courts thus may

             not enter injunctions that do no more than broadly direct defendants to comply with

             the law; “a bare injunction to follow the law” is impermissible. E.g., Parsons v. Ryan, 754

             F.3d 657, 689 n.35 (9th Cir. 2014); see also Int’l Longshoremen’s Ass’n v. Phila. Marine Trade

             Ass’n, 389 U.S. 64, 74-76 (1967) (rejecting decree to enforce “an abstract conclusion of

             law”); Schmidt v. Lessard, 414 U.S. 473, 476 (1974).

                    That limitation on federal courts’ equitable powers serves critically important

             interests, especially with respect to injunctive relief against executive-branch officials.

             It prevents courts from arrogating to themselves the power to generally superintend the

             Executive Branch’s execution of the laws. See CASA, 2025 WL 1773631, at *14 (“the

             Judiciary does not have unbridled authority to enforce” the Executive’s “duty to follow

             the law”); Waite v. Macy, 246 U.S. 606, 609 (1918) (“Courts will not issue injunctions

             against administrative officers on the mere apprehension that they will not do their duty

             or will not follow the law.”). And it protects defendants from the risk of being held in

             contempt for violating a court order with ill-defined contours. As the Supreme Court

             explained in Longshoremen: “The judicial contempt power is a potent weapon. When it

             is founded upon a decree too vague to be understood, it can be a deadly one.” 389 U.S.

                                                          12
(20 of 31), Page 20 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 20 of 31




             at 76. “Congress responded to that danger by requiring that a federal court frame its

             orders so that those who must obey them will know what the court intends to require

             and what it means to forbid.” Id.

                    The district court’s detentive-stops injunction blatantly violates the prohibition

             of “follow the law” injunctions.          The Fourth Amendment guarantee against

             unreasonable searches and seizures “extend[s] to brief investigatory stops of persons or

             vehicles that fall short of traditional arrest,” including stops of individuals suspected of

             being in the United States illegally. United States v. Arvizu, 534 U.S. 266, 273 (2002). By

             virtue of “the limited nature of the intrusion,” however, “stops of this sort may be

             justified on facts that do not amount to the probable cause required for an arrest.”

             United States v. Brignoni-Ponce, 422 U.S. 873, 880 (1975). Instead, an officer may conduct

             such a stop based on reasonable suspicion—supported by “specific articulable facts,

             together with rational inferences from those facts”—that a person is an illegal alien. Id.

             at 884; see also Terry v. Ohio, 392 U.S. 1 (1968); 8 C.F.R. § 287.8(b)(2) (“If the immigration

             officer has a reasonable suspicion, based on specific articulable facts, that the person

             being questioned is, or is attempting to be, engaged in an offense against the United

             States or is an alien illegally in the United States, the immigration officer may briefly

             detain the person for questioning.”).

                    The injunction here simply recapitulates those basic Fourth Amendment

             principles. It first provides: “Defendants shall be enjoined from conducting detentive

             stops in this District unless the agent or officer has reasonable suspicion that the person

                                                          13
(21 of 31), Page 21 of 31     Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 21 of 31




             to be stopped is within the United States in violation of U.S. immigration law.” Op.50.

             That just restates the constitutional requirement of reasonable suspicion. It is thus a

             forbidden “bare injunction to follow the law.” Parsons, 754 F.3d at 689 n.35.

                    The second substantive provision of the injunction suffers from much the same

             defect. Although it enumerates four factors that defendants may not rely on, “alone or

             in combination, to form reasonable suspicion for a detentive stop,” it simultaneously

             provides that defendants may do so “as permitted by law.” Op.50. That is circular and

             fails to provide the requisite notice. And even if the “except as permitted by law” clause

             were set aside, the court’s opinion leaves significant confusion about which practices

             the court did and did not intend to enjoin, as discussed further below. The order thus

             exposes defendants to the threat of judicial contempt based on nothing more than the

             prospect that the district court may ultimately disagree with an agent’s application of

             the Fourth Amendment. The injunction is fatally flawed on this basis alone.

                    2.      Even the injunction’s more precise provisions rest on a serious

             misunderstanding of the Fourth Amendment. Under the injunction, “Defendants may

             not rely solely on” four factors, “alone or in combination, to form reasonable suspicion

             for a detentive stop.” Op.50. Those factors are: “[a]pparent race or ethnicity”;

             “[s]peaking Spanish or speaking English with an accent”; “[p]resence at a particular

             location (e.g. bus stop, car wash, tow yard, day laborer pick up site, agricultural site,

             etc.)”; or “[t]he type of work one does.” Id. That directive is flatly inconsistent with

             black-letter Fourth Amendment doctrine.

                                                        14
(22 of 31), Page 22 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 22 of 31




                    Insofar as the injunction means to prohibit the government from relying on the

             four listed factors at all, as parts of the court’s opinion appear to suggest (Op.42-43,

             Op.41 n.30), that runs afoul of the basic Fourth Amendment principle that the

             reasonable-suspicion inquiry entails consideration of the totality of the circumstances,

             Arvizu, 534 U.S. at 273, meaning that no circumstances are categorically off-limits. And

             that of course goes for the four factors that the court enumerated here. Thus, ethnicity

             can be a factor supporting reasonable suspicion in appropriate circumstances—for

             instance, if agents are acting on a tip that identifies that ethnicity—even if it would not

             be relevant in other circumstances. See Brignoni-Ponce, 422 U.S. at 885-86 (“apparent

             Mexican ancestry” did not “alone” supply reasonable suspicion). It is likewise settled

             that a person’s use of Spanish, “[p]resence at a particular location,” or job (Op.50) can

             contribute to reasonable suspicion in at least some circumstances. See, e.g., United States

             v. Manzo-Jurado, 457 F.3d 928, 937 (9th Cir. 2006) (fact that group was “speaking to each

             other only in Spanish” was “relevant to the reasonable suspicion inquiry”); United States

             v. Montrero-Camargo, 208 F.3d 1122, 1138 (9th Cir. 2000) (en banc) (location can be

             relevant); Maldonado v. Holder, 763 F.3d 155, 161 (2d Cir. 2014) (noting that day labor is

             “an occupation that is one of the limited options for workers without documents”).

             The district court practically acknowledged as much by identifying specific locations

             that are often associated with illegal aliens, thereby refuting its own logic. Op.50

             (referring to a “day laborer pick up site[s]”). So to the extent that the injunction bars

             the government from considering the listed factors, it is egregiously wrong.

                                                         15
(23 of 31), Page 23 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 23 of 31




                    The injunction is flawed even if it prohibits the government only from relying

             on the enumerated factors alone (singly or in combination) to form reasonable suspicion

             for a stop. Reflecting the Fourth Amendment’s core textual criterion of reasonableness,

             the Supreme Court has “deliberately avoided reducing” the reasonable-suspicion

             inquiry to “a neat set of legal rules.” Arvizu, 534 U.S. at 274; see also Brignoni-Ponce, 422

             U.S. at 885 n.10. For example, a rule allowing officers to rely on certain evidence of

             “ongoing criminal behavior” but not “probabilistic” evidence is inconsistent with the

             flexible nature of the reasonable-suspicion inquiry. United States v. Sokolow, 490 U.S. 1,

             8 (1989). Categorical rules are foreign to the Fourth Amendment’s totality-of-the-

             circumstances tests, whether they help or hurt the government. See, e.g., Byrd v. United

             States, 584 U.S. 395, 405 (2018) (rejecting per se rule that “drivers who are not listed on

             rental agreements always lack an expectation of privacy in the automobile based on the

             rental company’s lack of authorization alone”); Barnes v. Felix, 145 S. Ct. 1353, 1358

             (2025) (rejecting “moment of the threat” doctrine in excessive-force context).

                    The district court’s injunction contravenes that principle. As this Court has held,

             “[t]he nature of the totality-of-the-circumstances analysis … precludes us from holding

             that certain factors are presumptively given no weight without considering those factors

             in the full context of each particular case”; “prior decisions holding that certain factors

             are per se not probative or are per se minimally probative do not … comply with

             Supreme Court precedent.” United States v. Valdes-Vega, 738 F.3d 1074, 1079 (9th Cir.



                                                          16
(24 of 31), Page 24 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 24 of 31




             2013) (en banc). Yet the injunction here imposes a categorical rule that the four listed

             factors cannot support reasonable suspicion for an investigatory stop. See Op.50. And

             it does so even though some combination of the enumerated factors will at least

             sometimes support reasonable suspicion for a stop. That cannot be correct.

                    C.      The Injunction Impermissibly Granted District-Wide Relief.
                    If nothing else, the court’s grant of district-wide relief must be stayed because it

             flagrantly violates the Supreme Court’s recent holding in CASA, forbidding the use of

             universal (i.e., non-party-specific) injunctions. The court did not enjoin the government

             from detaining Plaintiffs without reasonable suspicion; it enjoined the government from

             stopping or detaining anyone in the district without reasonable suspicion. That cannot be

             squared with CASA—and the district court barely tried. Indeed, the court failed even

             to cite the Supreme Court’s ruling, let alone engage with its holding.

                    In CASA, the Supreme Court addressed “universal injunctions,” or injunctions

             that bar the defendant from enforcing “a law or policy against anyone,” in contrast to

             injunctions limited to the plaintiff. 2025 WL 1773631, at *4. The Court found that the

             statutory grant of jurisdiction over suits “in equity” “encompasses only those sorts of

             equitable remedies traditionally accorded by courts of equity at our country’s

             inception.” Id. at *5-*6. And “[n]either a universal injunction nor any analogous form

             of relief was available … at the time of the founding.” Id. at *6. Rather, “suits in equity

             were brought by and against individual parties.” Id. “Because the universal injunction

             lacks a historical pedigree, it falls outside the bounds of a federal court’s equitable

                                                         17
(25 of 31), Page 25 of 31    Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 25 of 31




             authority under the Judiciary Act.” Id. at *8. At most, a court granting equitable relief

             “may administer complete relief between the parties.” Id. at *11. “Under this principle,

             the question is not whether an injunction offers complete relief to everyone potentially

             affected by an allegedly unlawful act; it is whether an injunction will offer complete

             relief to the plaintiffs before the court.” Id. And even then, “[c]omplete relief is not a

             guarantee—it is the maximum a court can provide.” Id. at *12.

                    The district court nonetheless determined that it “must enjoin the conduct of all

             law enforcement engaged in immigration enforcement throughout the District.” Op.36

             Without citing or discussing CASA, the court summarily dismissed the government’s

             concerns about universal injunctions as “unavailing” because “the requested injunction

             is only District-wide and not nationwide.” Op.30 n.21. That completely misses the

             point. Whether nationwide or only district-wide, the injunction goes beyond providing

             complete relief to Plaintiffs.

                    The district court also thought a narrower injunction would not work, because it

             would be impractical to expect agents to inquire into whether someone is a plaintiff

             before conducting a stop or detention. Op.36. But CASA cannot be so easily brushed

             aside. The Court warned that “[c]omplete relief” is not “synonymous with universal

             relief,” but is instead “a narrower concept: The equitable tradition has long embraced

             the rule that courts generally ‘may administer complete relief between the parties.’” CASA,

             2025 WL 1773631, at *11. Thus, although “the complete-relief principle has deep roots

             in equity,” it does not “justif[y] award of relief to nonparties.” Id. at *10. To be sure,

                                                         18
(26 of 31), Page 26 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 26 of 31




             there are cases where “afford[ing] the plaintiff complete relief[] [leaves] the court [with]

             only one feasible option,” which has “the practical effect of benefiting nonparties”—

             but any such “benefit to nonparties . . . [is] merely incidental.” Id. at *11. Here, though,

             the benefit to nonparties is anything but incidental: The court expressly ruled that it

             would “enjoin the conduct of all law enforcement engaged in immigration enforcement

             throughout the District.” Op.36. CASA does not allow that.2

                    If anything, the district court’s concerns about a party-specific injunction merely

             underscore that broad, structural injunctions are rarely appropriate in the Fourth

             Amendment context. See Orin S. Kerr, The Limits of Fourth Amendment Injunctions, 7 J. on

             Telecommc’ns & High Tech. L. 127, 129 (2009) (“Fourth Amendment doctrine is

             tremendously fact-specific: every fact pattern is different, and even the exceptions to

             the exceptions have their own exceptions. Courts are poorly suited to design broad

             injunctive relief in this setting.”). They are certainly not a reason to ignore the Supreme

             Court’s warnings about the limits of federal courts’ equitable powers.




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                      Although Plaintiffs styled their amended complaint as a putative class action,
             they did not seek certification and the district court expressly did not rely on the class
             allegations to support the injunction. See Op.36 (approving district-wide injunction
             “without considering the unnamed class members and the propriety of certifying a
             class”). Accordingly, any injunction had to be limited to the Plaintiffs. See Nat’l Ctr. for
             Immigrants Rights, Inc. v. INS, 743 F.2d 1365, 1371 (9th Cir. 1984) (“in the absence of
             class certification, [a] preliminary injunction may properly cover only the named
             plaintiffs”). Of course, had the court tried to certify a class, that would have led to
             other fatal problems under Rule 23.

                                                         19
(27 of 31), Page 27 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 27 of 31




                                                  *       *    *

                    This sweeping district-wide injunction, under which a single district judge

             purports to dictate a categorical formula for this sort of individualized inquiry and

             thereby assume plenary oversight of immigration enforcement in Los Angeles, is

             contrary to both the Fourth Amendment and basic principles of equity. A stay is

             required.

              II.   The Balance of Equities and Public Interest Favor a Stay.

                    The balance of harms, equities, and public interest overwhelmingly favor a stay

             pending appeal. See Nken, 556 U.S. at 435.

                    The government will suffer irreparable harm if the court’s injunction remains in

             effect. Under federal law, the government only conducts warrantless arrest where

             officers have reasonable suspicion, based on specific articulable facts. Dkt.71 (Havrick

             Decl.), ¶¶ 8-10; Dkt.71 (Quinones Decl.) ¶¶ 4-5, 8-9. But the court’s broad, structural

             injunction will have a chilling effect on that enforcement, because it threatens officers

             with contempt sanctions if the court retrospectively disagrees with their view of

             whether reasonable suspicion was satisfied on particular facts. Cf. Harlow v. Fitzgerald,

             457 U.S. 800, 807 (1982); see also Dkt.94-1 ¶¶ 8-10 (describing how the TRO will hamper

             law enforcement efforts and increase risks to agents); Dkt. 94-2 ¶¶ 14-20 (same). And

             that risk is potent, given that the court reached its judgment about the past arrests of

             three named Plaintiffs here, without giving the government a meaningful opportunity

             to marshal the facts and prove that reasonable suspicion did exist. Now that it’s had

                                                        20
(28 of 31), Page 28 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 28 of 31




             more time, the government has provided specific evidence that those arrests resulted

             from “a targeted enforcement action at a particular location where past surveillance and

             intelligence had confirmed that the target or individuals associated with him were

             observed to have recruited illegal aliens to work on landscaping jobs.” Compare Dkt.94-

             1, ¶ 6, with Dkt.71 (Quinones Decl.).

                    On the other side of the scale, the Fourth Amendment already applies by its own

             terms to all law enforcement actions and already provides remedies for violations. See

             Egbert v. Boule, 596 U.S. 482, 484 (2022)(addressing alternative remedies in context of

             excessive force complaint); INS v. Lopez-Mendoza, 468 U.S. 1032, 1045 (1984). Those

             existing remedies suffice to protect Plaintiffs’ interests and the public interest.

                    Finally, it is important to observe that the court’s injunction appears to be only

             a first step toward an even more wholesale judicial usurpation. As part of the order,

             the court has directed the government to show cause why an even broader injunction

             should not issue—one that involves court-supervised training; a directive to develop

             “guidance” on reasonable suspicion; and (most incredibly) an obligation to maintain

             and share with Plaintiffs’ ACLU counsel on a “regular schedule,” “documentation of

             detentive stops” showing “factors supporting reasonable suspicion.” Op.51. Relief is

             immediately warranted to nip this unconstitutional encroachment in the bud.

                                                 CONCLUSION

                    For the foregoing reasons, the Court should grant a stay pending appeal.



                                                         21
(29 of 31), Page 29 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 29 of 31




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             July 2025




                                                      22
(30 of 31), Page 30 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 30 of 31




                                   CERTIFICATE OF COMPLIANCE

                    This motion complies with the type-volume limit of Ninth Circuit Rules 32-3

             and 27-1(1)(d) because it contains 5566 words. This motion also complies with the

             typeface and type-style requirements of Federal Rules of Appellate Procedure

             27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft Word in

             Garamond 14-point font, a proportionally spaced typeface.



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(31 of 31), Page 31 of 31   Case: 25-4312, 07/17/2025, DktEntry: 11.1, Page 31 of 31




                                       CERTIFICATE OF SERVICE

                    I hereby certify that, on July 17, 2025, I electronically filed the foregoing

             docketing statement with the Clerk of the Court by using the Appellate Case

             Management System. I further certify that the participants in the case are ACMS users

             and that service will be accomplished by using the ACMS system.

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